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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

 PUREWICK CORPORATION,                             )
                                                   )
             Plaintiff/Counterclaim Defendant,     )
                                                   )
    v.                                             ) C.A. No. 19-1508-MN
                                                   )
 SAGE PRODUCTS, LLC,                               )
                                                   )
             Defendant/Counterclaim Plaintiff.     )


  [PROPOSED] ORDER EXCLUDING IMPROPER EXPERT OPINIONS ON CLAIM
 CONSTRUCTION AND GRANTING SUMMARY JUDGMENT OF INFRINGEMENT
                   OF ’376 PATENT CLAIMS 1 AND 9

         At Wilmington this ___ day of ________, 2021,

         Whereas, the Court has considered the motion of Plaintiff PureWick Corporation to

exclude opinions by Sage’s expert Donald Sheldon that are inconsistent with the Court’s claim

construction and for summary judgment of infringement of ’376 patent claims 1 and 9;

         Now, therefore, it is ordered that:

         1. PureWick’s Motion is hereby GRANTED.

         2. Mr. Sheldon’s opinions that are contrary to the Court’s claim constructions, or that raise

            untimely new claim construction arguments that are inconsistent with the intrinsic

            record and the law, are excluded.

         3. Sage’s PrimaFit product directly infringes ’376 patent claims 1 and 9.



         SO ORDERED this ____________ day of __________________, 2021.



                                                 UNITED STATES DISTRICT JUDGE
